Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-cr-60017-BLOOM

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 PHILLIP HYLANDER,

       Defendant.
 ______________________________/

                                              ORDER

        THIS CAUSE is before the Court upon Defendant Philip Hylander’s Motion for

 Compassionate Release, or in the Alternative, Second Motion for Modification of Sentence to

 Home Confinement, ECF No. [63]. The Government filed its Response, ECF No. [66], to which

 Defendant filed a Reply, ECF No. [69]. The Court has carefully reviewed the Motion, all opposing

 and supporting submissions, any relevant exhibits, the record in this case, the applicable law, and

 is otherwise fully advised. For the reasons discussed below, the Motion is denied.

 I.     BACKGROUND

        A.      Procedural History

        On April 10, 2020, Defendant filed an initial Emergency Motion for Modification of

 Sentence to Home Confinement (“First Motion”), ECF No. [57]. The Government filed a Response

 (“First Response”), ECF No. [60],opposing the Motion on the grounds: (1) Defendant had served

 less than one-third of his sentence (20 of 63 months), see First Resp. at 2; (2) Defendant failed to

 “cite to any presumptive positive cases” at his detention center, FCI Jessup, id. at 3; and (3) FCI

 Jessup was otherwise equipped to respond to the COVID-19 health crisis, see id.

        The Court entered an Order (“First Order”), ECF No. [62], denying Defendant’s Motion.

 The Court noted Defendant is 66-years old, obese, and suffers from several medical conditions,
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 2 of 7

                                                                    Case No. 18-cr-60017-BLOOM


 including chronic hypertension, edema, gastroesophageal reflux disease (“GERD”), stomach

 ulcers, and high cholesterol. See id. at 4. Nevertheless, the Court noted there was no indication

 Defendant’s detention center, FCI Jesup, was similarly situated to detention centers experiencing

 COVID-19 outbreaks. See id. at 5. The Court also considered whether Defendant posed a danger

 to the community and others under 18 U.S.C. section 3142(g). See id. Concluding he did, the Court

 reasoned Defendant pleaded “guilty to receipt of child pornography,” “admitted that he had been

 downloading child pornography for several years,” and his release plan proposed he be released to

 “precisely the location in which the offense for which he was convicted was committed,” thus

 presenting “a concern that Defendant will reoffend.” See id.at 5–6. As to the 18 U.S.C. section

 3553(a) factors, the Could noted Defendant had “served less than one-third” of his sentence and

 presented no “other basis, other than his underlying health conditions, to persuade the court that

 its consideration of the [section] 3553(a) factors since sentencing should be modified.” Id. at 6.

        In the instant Motion, Defendant argues circumstances have changed at FCI Jesup, as

 “there have been hundreds of new cases of COVID-19,” there, and one inmate has died. Mot. at 3,

 see also https://www.bop.gov/resources/news/pdfs/20200723_press_release_jes.pdf. Defendant

 also informs the Court he has kidney disease, a condition Defendant did not present to the Court

 in his First Motion or First Reply, ECF No. [61].

        The Government opposes the motion, arguing the status of the COVID-19 outbreak at FCI

 Jesup is not out of control, see Resp. at 2, and the Warden denied Defendant’s emergency request

 for home confinement, evidencing the “facility apparently believed they [sic] were able to properly

 protect Defendant from the virus.” Id. at 4.

        B.      SARS-CoV-2

        SARS-CoV-2, the novel coronavirus, and COVID-19, the disease it causes, have spread

 across the world and have impacted every person’s life. The United States is currently reporting

                                                  2
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 3 of 7

                                                                      Case No. 18-cr-60017-BLOOM


 more confirmed cases of COVID-19 and resulting deaths than any other country, with almost

 7,787,548 confirmed cases and over 214,000 reported deaths as of October 13, 2020. 1 The

 COVID-19 pandemic poses a serious danger to society at large. Moreover, COVID-19 poses a

 higher risk to incarcerated individuals who are unable to practice public health precautions that are

 otherwise available to the general public, such as social distancing practices.

        As a result of this dynamic, unpredictable, and unprecedented situation, Attorney General

 William Barr has urged the Bureau of Prisons (“BOP”) to move vulnerable inmates out of penal

 institutions and into home confinement, where appropriate. See Mem. from Attorney Gen. William

 Barr for Dir. of Bureau of Prisons re: Increasing Use of Home Confinement at Institutions Most

 Affected by COVID-19 (Apr. 3, 2020), https://www.justice.gov/file/1266661/download

 (“Memorandum”). The Memorandum identifies several facilities that have been particularly

 affected and should be given priority in the BOP’s consideration of implementing home

 confinement, including FCI Oakdale, FCI Danbury, and FCI Elkton. Id. at 1. The Attorney General

 has made the express finding that extant emergency conditions are materially affecting BOP

 functioning and has directed the BOP to immediately maximize transfers to home confinement for

 all eligible inmates at the specifically named facilities and other similarly situated facilities where

 COVID-19 is materially affecting operations. Id. The Memorandum further directs the BOP to

 review all inmates who have COVID-19 risk factors, as established by the Centers for Disease

 Control and Prevention (“CDC”), to determine their suitability for home confinement, while also

 emphasizing the importance of protecting the public from individuals who may pose a danger to

 society, and recognizing the need to avoid over-burdening law enforcement with “the

 indiscriminate release of thousands of prisoners onto the streets without any verification that those



 1
  Cases of Coronavirus Disease (COVID-19) in the U.S., Centers for Disease Control and Prevention,
 https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last updated Oct. 13, 2020).
                                                   3
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 4 of 7

                                                                     Case No. 18-cr-60017-BLOOM


 prisoners will follow the laws when they are released . . . and that they will not return to their old

 ways as soon as they walk through the prison gates.” Id. at 2-3. Finally, the Memorandum stresses

 the need for careful and individualized determinations regarding the propriety of releasing any

 given inmate to home confinement and discourages indiscriminate releases. Id. at 3.

 II.    DISCUSSION

        “Generally, a court ‘may not modify a term of imprisonment once it has been imposed.’”

 United States v. Pubien, 805 F. App’x 727, 729 (11th Cir. 2020) (quoting 18 U.S.C. § 3582(c)).

        “The authority of a district court to modify an imprisonment sentence is narrowly
        limited by statute.” [United States v. Phillips, 597 F.3d 1190, 1194-95 (11th Cir.
        2010)]. Section 3582(c) of Title 18 provides that the district court may not modify
        a defendant’s imprisonment sentence except: (1) if the Bureau of Prisons files a
        motion and extraordinary or compelling circumstances warrant modification or if
        the defendant is at least 70 years old and has served 30 years in prison; (2) if the
        modification is expressly permitted by statute or Federal Rule of Criminal
        Procedure 35; or (3) if the defendant’s original sentencing range has subsequently
        been lowered as a result of an amendment to the Guidelines by the Sentencing
        Commission. 18 U.S.C. § 3582(c).

 United States v. Shaw, 711 F. App’x 552, 554-55 (11th Cir. 2017); see also United States v.

 Celedon, 353 F. App’x 278, 280 (11th Cir. 2009); United States v. Diaz-Clark, 292 F.3d 1310,

 1316-18 (11th Cir. 2002). Thus, “[t]he law is clear that the district court has no inherent authority

 to modify a sentence; it may do so only when authorized by a statute or rule.” United States v.

 Rivas, 800 F. App’x 742, 745 (11th Cir. 2020) (quoting United States v. Puentes, 803 F.3d 597,

 605-06 (11th Cir. 2015)); see also United States v. Llewlyn, 879 F.3d 1291, 1296-97 (11th Cir.

 2018) (quoting Dillon v. United States, 560 U.S. 817, 827 (2010)).

        As with his First Motion, Defendant seeks relief under the compassionate release provision,

 § 3582(c)(1)(A), which states:

        (c) Modification of an imposed term of imprisonment.— The court may not modify
        a term of imprisonment once it has been imposed except that—
        (1) in any case—
        (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
        of the defendant after the defendant has fully exhausted all administrative rights to
                                                   4
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 5 of 7

                                                                      Case No. 18-cr-60017-BLOOM


        appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
        or the lapse of 30 days from the receipt of such a request by the warden of the
        defendant’s facility, whichever is earlier, may reduce the term of imprisonment
        (and may impose a term of probation or supervised release with or without
        conditions that does not exceed the unserved portion of the original term of
        imprisonment), after considering the factors set forth in section 3553(a) [18 U.S.C.
        § 3553(a)] to the extent that they are applicable, if it finds that—
                (i) extraordinary and compelling reasons warrant such a reduction . . . .
                ....
        and that such a reduction is consistent with applicable policy statements issued by
        the Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1)(A)(i).

        Under the relevant Sentencing Guidelines policy statement, the Court “may reduce a term

 of imprisonment . . . if, after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent

 they are applicable, the court determines that . . . extraordinary and compelling reasons warrant a

 reduction.” U.S. Sentencing Guidelines Manual § 1B1.13 (U.S. Sentencing Comm’n 2018). The

 Sentencing Guidelines add that the Court should reduce a sentence only if the “defendant is not a

 danger to the safety of any other person or to the community.” Id.

        Section 3582 sets out the order in which this Court should analyze a criminal
        defendant’s entitlement to a sentencing reduction. First, when the defendant brings
        the motion himself, the Court must ascertain whether he “has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
        on the defendant’s behalf or [whether there has been a] lapse of 30 days from the
        receipt of such a request by the warden of the defendant’s facility, whichever is
        earlier.” 18 U.S.C. § 3582(c)(1)(a). Second, the Court should “consider[] the factors
        set forth in section 3553(a) to the extent that they are applicable.” Id. Third, the
        Court should turn to the “extraordinary and compelling reasons” test, as outlined in
        U.S.S.G. § 1B1.13 cmt. n.1. And fourth, the Court should determine whether the
        defendant poses a “danger to the safety of any other person or to the community,
        as provided in 18 U.S.C. § 3142(g).” Id.

 United States v. Stuyvesant, No. 09-60184-CR, 2020 WL 1865771, at *2 (S.D. Fla. Apr. 14, 2020).

 Thus, in order to grant Defendant’s request pursuant to § 3582(c)(1)(A), the Court must: (1) find

 that Defendant has exhausted his administrative remedies with the BOP; (2) weigh the relevant

 § 3553(a) factors; (3) conclude that extraordinary and compelling reasons warrant compassionate

 release in this case; and (4) determine that Defendant is not a danger to the community. Moreover,

                                                   5
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 6 of 7

                                                                      Case No. 18-cr-60017-BLOOM


 Defendant bears the burden of establishing that compassionate release is warranted. See United

 States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (explaining that “a defendant, as the

 § 3582(c)(2) movant, bears the burden of establishing that” compassionate release is warranted,

 but that, even where a defendant satisfies this burden, “the district court still retains discretion to

 determine whether a sentence reduction is warranted”).

        In its First Order, the Court applied the foregoing analytical framework to Defendant’s case

 and found both the section 3142(g) factors and section 3553(a) factors weighed against granting

 Defendant’s First Motion. See First Order at 5–6. With respect to the instant Motion, the Court

 makes the same conclusion.

        As a preliminary matter, Court recognizes that FCI Jesup has experienced a marked

 increase in COVID-19 cases, calling into question the efficacy of the Bureau of Prison’s response

 to the health crisis. Nevertheless, the Bureau of Prisons has set forth a COVID-19-management

 plan including quarantine and social-distancing protocols. See Resp. at 3. As to Defendant’s

 medical conditions, while severe, Defendant has not supplied the Court with medical records

 documenting the same, or made a showing that he has been unable to receive proper treatment at

 FCI Jesup. While Defendant notes there is no licensed medical doctor on site, see Mot. at 3,

 Defendant does not claim he is unable to receive proper medical care if needed.

        Moreover, Defendant presents no argument to the Court that would alter its previous

 finding that Defendant remains a danger to the community. Aside from serving less than one-half

 of his sentence, there is no evidence Defendant has engaged in educational or rehabilitative

 courses. Compare with United States v. Blake, No. 15-CR-80018, 2020 WL 4677309, at *1 (S.D.

 Fla. Aug. 12, 2020) (finding the percentage of his sentence the defendant served, and the

 defendant’ completion of educational courses, contribution to the detention-center community, and




                                                   6
Case 0:18-cr-60017-BB Document 68 Entered on FLSD Docket 10/18/2020 Page 7 of 7

                                                                   Case No. 18-cr-60017-BLOOM


 lack of disciplinary history militated against a finding the defendant was a danger to the

 community).

 III.   CONCLUSION

        The Court remains sympathetic to Defendant’s health conditions and cognizant of the

 deterioration of circumstances at FCI Jesup. Nevertheless, based on the record presently before it,

 the Court cannot deviate from its previous finding.

        Accordingly, it is

        ORDERED AND ADJUDGED that Defendant Philip Hylander’s Motion for

 Compassionate Release, or in the Alternative, Second Motion for Modification of Sentence to

 Home Confinement, ECF No. [63] is DENIED without prejudice.

        DONE AND ORDERED in Chambers at Miami, Florida, on October 16, 2020.




                                                       _________________________________
                                                       BETH BLOOM
                                                       UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




                                                 7
